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                                               U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                  The Jacob K. Javits Federal Building
                                                  26 Federal Plaza, 37th Floor
                                                  New York, New York 10278


                                                   October 1, 2024

BY ECF
The Honorable Dale E. Ho
United States District Judge
500 Pearl Street
Southern District of New York
New York, New York 10007

Re:    United States v. Eric Adams, 24 Cr. 556 (DEH)

Dear Judge Ho:

       The Government has conferred with defense counsel and submits the attached protective
order on consent, which the parties respectfully request the Court so-order.

                                            Respectfully submitted,

                                            DAMIAN WILLIAMS
                                            United States Attorney



                                      by:     /s/
                                            Celia V. Cohen
                                            Andrew Rohrbach
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cc (by ECF): Defense Counsel
